                 United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 23-5065                                               September Term, 2023
                                                           FILED ON: APRIL 5, 2024

NATIONAL ASSOCIATION OF REALTORS,
                  APPELLEE

v.

UNITED STATES OF AMERICA, ET AL.,
                   APPELLANTS


                         Appeal from the United States District Court
                                 for the District of Columbia
                                     (No. 1:21-cv-02406)


       Before: HENDERSON, WALKER and PAN, Circuit Judges

                                      JUDGMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the judgment of the District Court appealed from in
this cause be reversed and the case be remanded for further proceedings, in accordance with the
opinion of the court filed herein this date.

                                         Per Curiam


                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                    BY:    /s/

                                                           Daniel J. Reidy
                                                           Deputy Clerk


Date: April 5, 2024

Opinion for the court filed by Circuit Judge Pan.
Dissenting opinion filed by Circuit Judge Walker.
